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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

MALIBU MEDIA, LLC,                                )
                                                  )
       Plaintiff,                                 )   Civil Case No. 1:19-cv-02347-RC
                                                  )
v.                                                )
                                                  )
JOHN DOE subscriber assigned IP address           )
68.33.74.113,                                     )
                                                  )
       Defendant.                                 )
                                                  )

                                       STATUS REPORT

Pursuant to this Court’s Order dated December 12, 2019, Plaintiff is required to provide this

Court with a status of this case. On or about September 11, 2019, Plaintiff served the subpoena

on the ISP and is received the ISP’s response on October 22, 2019. Upon receipt of the

subscriber’s identifying information, Plaintiff conducted a thorough investigation and determined

that a good faith basis exists to name the subscriber as the defendant infringer.

       Plaintiff was in the process of preparing its Amended Complaint to name the Defendant.

However, Defendant indicated that he wanted to proceed anonymously. Therefore, an Agreed

Motion Seeking Leave to Proceed Anonymously was filed on January 27, 2020. Thus, Plaintiff is

awaiting this Honorable Court’s ruling for direction on how to proceed with amending its

complaint.

Dated: January 27, 2020.

                                                              Respectfully submitted,

                                                              MALIBU MEDIA, LLC.
                                                              PLAINTIFF
                                                              By: /s/ Jon A. Hoppe
                                                              Jon A. Hoppe, Esquire #438866
                                                              Counsel

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2020, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of
record and interested parties through this system.

                                                          By: /s/ Jon A. Hoppe




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